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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF NEVADA

                                              ***
                                               )
UNITED STATES OF AMERICA,                      )
                                               )       CASE NO. 2:19-CR-00232-JCM-NJK
                      Plaintiff,               )
v.                                             )
                                               )
CONOR CLIMO,                                   )
                                               )       MINUTE ORDER
                      Defendant(s).            )
                                               )       DATE: November 2, 2020



PRESENT: THE HONORABLE JAMES C. MAHAN, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:            N. VAGLIO         REPORTER:        NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                         NONE APPEARING
COUNSEL FOR DEFENDANT(S):                        NONE APPEARING
MINUTE ORDER IN CHAMBERS:

       IT IS ORDERED that a Sentencing Hearing is set for November 13, 2020 at 10:30 A.M.
in LV Courtroom 6A before Judge James C. Mahan.

       The Public may access and listen to the Sentencing Hearing as follows:

Public telephonic participants shall call AT&T no later than five (5) minutes prior to the
hearing at 1 (888) 363-4734, then Access Code 6910695#. You must mute your phone to
avoid causing distractions during the hearing.

        IT IS FURTHER ORDERED that defense counsel shall provide all necessary documents
to the defendant in advance of the hearings.

        IT IS FURTHER ORDERED that defense counsel shall contact the Courtroom
Administrator at Nicholas_Vaglio@nvd.uscourts.gov or (702) 464-5472 with information on how
the defendant will participate in the video conference. If the defendant will be appearing at the
hearing using his/her own equipment, the defense counsel must all confirm with the Courtroom
Administrator that the defendant’s equipment is working and provide the defendant’s email
address to receive the video conference invitation and the defendant’s phone number in the event
of any technical difficulties.
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      IT IS FURTHER ORDERED that Defense/AUSA shall file any necessary signed
documents at least ONE (1) day prior to the scheduled hearing consistent with General Order 2020-
05.

       IT IS ORDERED that the following Video Conference Instructions be adhered to as
follows:

                INSTRUCTIONS FOR VIDEO CONFERENCE HEARING

       Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to
the hearing to the participants email provided to the Court.

              Log on to the call ten (10) minutes prior to the hearing time.
              Mute your sound prior to entering the hearing.
              Do not talk over one another.
              State your name prior to speaking for the record.
              Do not have others in the video screen or moving in the background.
              No recording of the hearing.
              No forwarding of any video conference invitations.
              Unauthorized users on the video conference will be removed.

       IT IS SO ORDERED.

                                                     DEBRA K. KEMPI, CLERK

                                                     By:           /s/
                                                           N. Vaglio, Deputy Clerk
